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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                       Case No. 10-20705

ALI ALAOUIE,

           Defendant.
_______________________________/

                    ORDER DENYING DEFENDANT ALI ALAOUIE’S
                       MOTION TO RETAIN ROUGH NOTES

       Before the court is Defendant Ali Alaouie’s “Motion . . . [for] Government Agents

to Retain Rough Notes.” The Government has filed a response, arguing that under

prevailing Supreme Court and Sixth Circuit precedent, the motion should be denied.

The court agrees.

       Defendant requests that the court enter an order requiring the Government to

retain “any and all . . . tangible papers, objects, rough notes, compilations, tape

recordings, memoranda and/or work sheets” prepared by “any government law

enforcement officers who have investigated the charges in this and related cases.”

(Def.’s Mot. 1.) He further requests that the court conduct an “inquiry” to determine

whether such notes exist. (Id. 2.) He also requests that, as a part of that inquiry, the

court review in camera all such notes and file them with the clerk for appellate review.

(Id.) Defendant purportedly makes his request under Brady v. Maryland, 373 U.S. 83

(1963) and the Jencks Act, 18 U.S.C. § 3500, but there is nothing in Brady or Jencks

which would require the sweepingly broad relief which Defendant seeks. Instead, the
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Supreme Court has clearly held that “[t]here is no general constitutional right to

discovery in a criminal case, and Brady did not create one.” Weatherford v. Bursey,

429 U.S. 545, 559 (1977). Further, contrary to Defendant’s argument that he “ought not

be placed in a position where the efficacy of this motion is to be determined by the

government,” the Supreme Court has stated that the “defendant’s right to discover

exculpatory evidence does not include the unsupervised authority to search through the

[Government’s] files.” Pennsylvania v. Ritchie, 480 U.S. 39, 59-60 (1987) (citations

omitted). Indeed, the “Court has never held—even in the absence of a statute

restricting disclosure—that a defendant alone may make the determination as to the

materiality of the information. Settled practice is to the contrary.” Id. Thus, when a

defendant makes a request for Brady material, it is the Government “that decides which

information must be disclosed. Unless defense counsel becomes aware that other

exculpatory evidence was withheld and brings it to the court's attention, the prosecutor’s

decision on disclosure is final.” Id. (emphasis added)(footnote omitted). There is no

evidence, or even assertion, that the Government has withheld Brady material. Thus,

Brady provides no basis for Defendant’s request.

       Further, the Sixth Circuit “has held that routine destruction of interview notes after

preparation of a full 302 Report [does] not violate either the Jencks Act, 18 U.S.C. §

3500, or . . . Brady.” United States v. McCallie, 554 F.2d 770, 773 (6th Cir. 1977)

(citations omitted). Defendant has failed to identify any relevant Sixth Circuit authority

to the contrary, and the court is aware of no cases in this circuit that would justify the

highly intrusive request that Defendant has made. Accordingly,




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           IT IS ORDERED that Defendant Ali Alaouie’s “Motion . . . [for] Government

Agents to Retain Rough Notes.” [Dkt. # 72] is DENIED.


                                                            S/Robert H. Cleland
                                                           ROBERT H. CLELAND
                                                           UNITED STATES DISTRICT JUDGE

Dated: March 1, 2011

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, March 1, 2011, by electronic and/or ordinary mail.

                                                            S/Lisa Wagner
                                                           Case Manager and Deputy Clerk
                                                           (313) 234-5522




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